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B25A (Official Form 25A) (12/11)


                           United States Bankruptcy Court
                          Northern District of Illinois, Eastern Division

Vanguard Health & Wellness, LLC                  )      Case No. 17-04707
                                                 )
                                     Debtor(s)   )      Small Business Case under Chapter 11
                                                 )
                                                 )      Judge Jacqueline P. Cox

                              MODIFIED
          VANGUARD HEALTH & WELLNESS’S PLAN OF REORGANIZATION
                             DATED 3/8/2018

                                          ARTICLE I
                                          SUMMARY

        This Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy Code (the
“Code”) proposes to pay creditors of Vanguard Health & Wellness LLC (the “Debtor”) from
cash flow from operations.

        This Plan provides for 2 classes of secured claims; 3 classes of unsecured claims; and 1
classes of equity security holders. Unsecured creditors holding allowed claims will receive
distributions, which the proponent of this Plan has valued at approximately 10-30 cents on the
dollar. This Plan also provides for the payment of administrative and priority claims.

        All creditors and equity security holders should refer to Articles III through VI of this
Plan for information regarding the precise treatment of their claim. A disclosure statement that
provides more detailed information regarding this Plan and the rights of creditors and equity
security holders has been circulated with this Plan. Your rights may be affected. You should
read these papers carefully and discuss them with your attorney, if you have one. (If you do
not have an attorney, you may wish to consult one.)


                                   ARTICLE II
                     CLASSIFICATION OF CLAIMS AND INTERESTS

       2.01 Class 1.          All allowed claims entitled to priority under § 507 of the Code
(except administrative expense claims under § 507(a)(2), [“gap” period claims in an involuntary
case under § 507(a)(3),] and priority tax claims under § 507(a)(8)):
                              None

       2.02. Class 2(a).     The secured claim of Lightstar Finances Services, LLC, $250,000.
To be paid in accordance with the contract




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      2.03. Class 2(b).      The secured claim of Amerifactors Financial Group LLC,
$220,000. To be paid in accordance with a settlement agreement between the parties

       2.04 Class 3(a)          The claim of judgment creditors Tatyana Filek and Aleksandra
Dubovi in the amount of $183,688.
       (1) if the creditors accept the plan, they shall be treated as partially secured in the amount
of $42,999.42 plus interest at a rate of 5.5% per annum, plus 10% of an unsecured claim in the
amount of $134,407.63, for a total of $62,721.13, to be paid over 60 months at not less than
$1,100 per month
       (2) if the creditors do not accept the plan, their claim shall be treated as a general
unsecured claim in the amount of $183,688, to be paid at 10% in 60 equal monthly payments

       2.05 Class 3(b).      Unsecured claim of Rehab Maxx LLC: $4,000, to be offset by the
damages awarded by the court to the Debtor, then 20 cents on the dollar on the balance, in 6
equal monthly payments, starting on the Effective Date of the Plan

      Class 3(c).      All unsecured claims allowed under § 502 of the Code in excess of
$15,000, other than the claims of judgment creditors Tatyana Filek and Aleksandra Dubovi and
Rehab Maxx LLC: Total $ 805,327.47, to be paid 10 cents on the dollar, in 60 equal monthly
payments, starting on the effective Date of the Plan

        2.06 Class 3(d).       Convenience class (§ 1122(b)): Holders of general unsecured
claims of $15,000 or less, other than Rehab Maxx LL: Total $32,979.10, to be paid 20 cents on
the dollar, in 6 equal monthly payments, starting on the Effective Date of the Plan

        2.07 Class 4.           Equity interests of the Debtor: Unsecured claims of co-owners
Michael Zayats and Alexander Green $290,259.20. No payment shall be made on the claims
during the life of the plan (60 months). The holders of the claims shall contribute $50,000 in
new capital to the operation of the Debtor in Possession on the Effective Date of the Plan, and in
addition, shall contribute their knowledge, experience and service to the Debtor in Possession’s
reorganization as new value. In re Ahlers, 794 F.2d 388 (8th Cir. 1986), rev'd in part on other
grounds, 485 U.S. 197, 108 S. Ct. 963, 99 L.Ed. 2d 169 (1988)


                                   ARTICLE III
                TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                  U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

       3.01 Unclassified Claims. Under section §1123(a)(1), administrative expense claims,
[“gap” period claims in an involuntary case allowed under § 502(f) of the Code,] and priority tax
claims are not in classes.

        3.2     Administrative Expense Claims. Each holder of an administrative expense claim
allowed under § 503 of the Code and approved by the Court, will be paid in full on the effective
date of this Plan (as defined in Article VII), in cash, or upon such other terms as may be agreed
upon by the holder of the claim and the Debtor.




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       3.3     Priority Tax Claims. There is no such claim.
        3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C. §1930(a)(6)
(U.S. Trustee Fees) will accrue and be timely paid until the case is closed, dismissed, or
converted to another chapter of the Code. Any U.S. Trustee Fees owed on or before the effective
date of this Plan will be paid on the effective date.

                               ARTICLE IV
             TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

       4.1     Claims and interests shall be treated as follows under this Plan:


            Class                  Impairment                           Treatment
Class 1 – Priority              N/A                      All prepetition priority claims under
Claims                                                   §507(a)(4) were paid in full pursuant
                                                         to court order
Class 2(a) – Secured            Unimpaired               Claim shall be paid in accordance with
Claim of Lightstar                                       the contract
Financial Services
LLC: $250,000
Class 2(b) – The secured        Impaired                 To be paid in accordance with a
claim of Amerifactors                                    settlement agreement between the
Financial Group LLC,                                     parties
$220,000
Class 3(a) – The claim of       Impaired                 (1) if the creditors accept the plan,
judgment creditors Tatyana                               they shall be treated as partially
Filek and Aleksandra Dubovi                              secured in the amount of $42,999.42
in the amount of $183,688                                plus interest at a rate of 5.5% per
                                                         annum, plus 10% of an unsecured
                                                         claim in the amount of $134,407.63,
                                                         for a total of $62,721.13, to be paid
                                                         over 60 months at not less than $1,100
                                                         per month
                                                         (2) if the creditors do not accept the
                                                         plan, their claim shall be treated as a
                                                         general unsecured claim in the amount
                                                         of $183,688, to be paid at 10% in 60
                                                         equal monthly payments
Class 3(b) – Unsecured claim    Impaired                 To be offset by the damages awarded
of Rehab Maxx LLC: $4,000                                by the court to the Debtor, then 20
                                                         cents on the dollar on the balance, in 6
                                                         equal monthly payments, starting on
                                                         the Effective Date of the Plan
Class 3(c) – All unsecured      Impaired                 To be paid 10 cents on the dollar, in




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claims allowed under § 502                              60 equal monthly payments, starting
of the Code in excess of                                on the effective Date of the Plan
$15,000, other than the
claims of judgment creditors
Tatyana Filek and Aleksandra
Dubovi and Rehab Maxx
LLC: Total $ 805,327.47
Class 3(d) – Convenience      Impaired                  To be paid 20 cents on the dollar, in 6
class (§ 1122(b)): Holders of                           equal monthly payments, starting on
general unsecured claims of                             the Effective Date of the Plan
$15,000 or less, other than
Rehab Maxx LL: Total
$32,979.10
Class 4 – Equity interests of Impaired                  No payment shall be made on the
the Debtor: Unsecured claims                            claims during the life of the plan (60
of co-owners Michael Zayats                             months). The holders of the claims
and Alexander Green                                     shall contribute $50,000 in new capital
$290,259.20                                             to the operation of the Debtor in
                                                        Possession on the Effective Date of
                                                        the Plan, and in addition, shall
                                                        contribute their knowledge,
                                                        experience and service to the Debtor
                                                        in Possession’s reorganization as new
                                                        value. In re Ahlers, 794 F.2d 388 (8th
                                                        Cir. 1986), rev'd in part on other
                                                        grounds, 485 U.S. 197, 108 S. Ct. 963,
                                                        99 L.Ed. 2d 169 (1988)


                                ARTICLE V
                   ALLOWANCE AND DISALLOWANCE OF CLAIMS

        5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed
by a final non-appealable order, and as to which either: (i) a proof of claim has been filed or
deemed filed, and the Debtor or another party in interest has filed an objection; or (ii) no proof
of claim has been filed, and the Debtor has scheduled such claim as disputed, contingent, or
unliquidated.

       5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on
account of a disputed claim unless such claim is allowed by a final non-appealable order.

        5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to
settle and compromise a disputed claim with court approval and compliance with Rule 9019 of
the Federal Rules of Bankruptcy Procedure.

                                         ARTICLE VI




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     PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       6.1     Assumed Executory Contracts and Unexpired Leases.

                (a)    The Debtor assumes the following executory contracts and/or unexpired
leases effective upon the date of the entry of the order confirming this Plan.

               1585 Ellinwood LLC

                (b)     The Debtor will be conclusively deemed to have rejected all executory
contracts and/or unexpired leases not expressly assumed under section 6.01(a) above, or before
the date of the order confirming this Plan, upon the effective date of this Plan. A proof of a
claim arising from the rejection of an executory contract or unexpired lease under this section
must be filed no later than __________ (___) days after the date of the order confirming this
Plan.

                                 ARTICLE VII
                    MEANS FOR IMPLEMENTATION OF THE PLAN

        Secured creditors shall be paid in accordance with the contract.
        Unsecured creditors shall be paid in 60 equal monthly payments, except that creditors
in the convenience class shall be paid in 6 equal monthly payments.
        Funding of the plan is from the Debtor’s business revenue.

                                      ARTICLE VIII
                                   GENERAL PROVISIONS

        8.01 Definitions and Rules of Construction. The definitions and rules of construction set
forth in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code
are used in this Plan, and they are supplemented by the following definitions: None.

        8.02 Effective Date of Plan. The effective date of this Plan is the first business day
following the date that is fourteen days after the entry of the order of confirmation. If, however,
a stay of the confirmation order is in effect on that date, the effective date will be the first
business day after the date on which the stay of the confirmation order expires or is otherwise
terminated.
       8.03 Severability. If any provision in this Plan is determined to be unenforceable, the
determination will in no way limit or affect the enforceability and operative effect of any other
provision of this Plan.

        8.04 Binding Effect. The rights and obligations of any entity named or referred to in this
Plan will be binding upon, and will inure to the benefit of the successors or assigns of such
entity.

       8.05 Captions. The headings contained in this Plan are for convenience of reference
only and do not affect the meaning or interpretation of this Plan.




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         8.06 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
(including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of
Illinois govern this Plan and any agreements, documents, and instruments executed in
connection with this Plan, except as otherwise provided in this Plan.

        8.07 Corporate Governance. The Debtor’s charter is amended to add a provision
prohibiting the issuance of nonvoting equity securities, and providing, as to the several classes
of securities possessing voting power, an appropriate distribution of such power among such
classes, including, in the case of any class of equity securities having a preference over another
class of equity securities with respect to dividends, adequate provisions for the election of
directors representing such preferred class in the event of default in the payment of such
dividends;


                                          ARTICLE IX
                                          DISCHARGE

        Discharge. On the confirmation date of this Plan, the debtor will be discharged from any
debt that arose before confirmation of this Plan, subject to the occurrence of the effective date, to
the extent specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged
of any debt: (i) imposed by this Plan; (ii) of a kind specified in § 1141(d)(6)(A) if a timely
complaint was filed in accordance with Rule 4007(c) of the Federal Rules of Bankruptcy
Procedure; or (iii) of a kind specified in § 1141(d)(6)(B).


                                        ARTICLE X
                                     OTHER PROVISIONS

       None.



                                                              Respectfully submitted,

                                                              /s/ _Xiaoming Wu
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